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3                               UNITED STATES DISTRICT COURT
4                                       DISTRICT OF NEVADA
5                                                  ***
6     RICHARD GRANADOS,                                  Case No. 3:20-cv-00427-MMD-WGC
7                                    Petitioner,                      ORDER
          v.
8     RENEE BAKER, et al.,
9                                Respondents.

10          This counseled habeas matter comes before the Court on Petitioner Richard

11   Granados’s motion to dismiss unexhausted claim (ECF No. 18 (“Motion”)).

12          On September 1, 2021, the Court found the petition in this action to be mixed,

13   containing both exhausted and unexhausted claims. (ECF No. 17.) The Court informed

14   Granados of his three options: (1) file a motion to dismiss seeking partial dismissal of only

15   the unexhausted claim; (2) file a motion to dismiss the entire petition without prejudice in

16   order to return to state court to exhaust the unexhausted claim; and/or (3) file a motion for

17   other appropriate relief, such as a motion for a stay and abeyance asking this Court to

18   hold his exhausted claims in abeyance while he returns to state court to exhaust the

19   unexhausted claim. (Id.)

20          Granados filed the Motion informing the Court of his intent to dismiss Ground 6(D),

21   his unexhausted claim, and pursue his remaining claims. No opposition having been filed

22   by Respondents and the time for doing so having expired, Granados’s Motion (ECF

23   No. 18) is granted.

24          It is therefore ordered that Ground 6(D) in this action is dismissed without prejudice

25   as unexhausted and by Petitioner Richard Granados’s request.

26          It is further ordered that Respondents will have 60 days to answer the remaining

27   claims of the petition in this case.

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1           It is further ordered that Granados will have 30 days following service of the answer

2    to file and serve a reply brief.

3           It is further ordered that in the answer, Respondents must specifically cite to and

4    address the applicable state court written decision and state court record materials, if any,

5    regarding each claim within the response as to that claim.

6           It is further ordered that any additional state court record and related exhibits must

7    be filed in accordance with LR IA 10-3, LR IC 2-2, and LSR 3-3 and include a separate

8    index identifying each additional exhibit by number or letter. The index must be filed in

9    CM/ECF’s document upload screen as the base document to receive the base docket

10   number (e.g., ECF No. 10). Each exhibit will then be filed as “attachments” to the base

11   document—the index—to receive a sequenced sub-docket number (e.g., Exhibit A (ECF

12   No. 10-1), Exhibit B (ECF No. 10-2), Exhibit C (ECF No. 10-3), and so forth). If the exhibits

13   will span more than one filing, the base document in each successive filing must be either

14   a copy of the index or volume cover page. See LR IC 2-2(a)(3)(A).

15          It is further ordered that, notwithstanding LR IC 2-2(g), paper copies of any

16   electronically filed exhibits—for this case—need not be provided to chambers or to the

17   staff attorney, unless later directed by the Court.

18          All other instructions set forth in the Court’s September 10, 2020 order (ECF No. 3)

19   remain in effect.

20          DATED THIS 1st Day of November 2021.

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                                                MIRANDA M. DU
24                                              CHIEF UNITED STATES DISTRICT JUDGE
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